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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 ABILENE DIVISION

NEXTERA ENERGY RESOURCES, LLC                     §
f/k/a FPL ENERGY, LLC, FPL ENERGY                 §
HORSE HOLLOW WIND, LLC f/k/a FPL                  §
ENERGY HORSE HOLLOW WIND, L.P.,                   §
and FPL ENERGY HORSE HOLLOW                       §
WIND II, LLC f/k/a FPL ENERGY                     §
HORSE HOLLOW WIND II, L.P.                        §
                                                  §
       Plaintiffs,                                §
                                                  §
                                                          Civil Action No. 1:08-CV-00107-C
v.                                                §
                                                  §
UNITED STATES OF AMERICA,                         §
UNITED STATES ARMY,                               §
UNITED STATES AIR FORCE,                          §
UNITED STATES DEPARTMENT OF                       §
DEFENSE, and UNITED STATES ARMY                   §
CORPS OF ENGINEERS,                               §
                                                  §
       Defendants.                                §


       STIPULATION OF DISMISSAL OF ENTIRE ACTION WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiffs and Defendants

hereby stipulate to the dismissal of this entire action with prejudice and with all costs, including

but not limited to attorneys’ and expert witness fees, to be borne by the parties incurring same.




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Dated: September 19, 2014

                                      Respectfully submitted,



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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of this document has been
served on counsel of record as shown below on September 19, 2014:

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